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                                  FOR PUBLICATION
                                                                     JAM 222016
 2                        UNITED STATES BANKRUPTCY COURT
                                                                                  RT
 3                        EASTERN DISTRICT OF CALIFORNIA                          A

 4
 5    In re:                                  Bk. No. 10-53374-C-7
 6    JOHN ERNEST BORSOS and
      CLARE HART BORSOS,                      Adv. No. 11-02183
 7
            Debtors.
 8
 9    UNITED HEALTHCARE WORKERS-
      WEST, an unincorporated
10    association,
11          Plaintiff,                        OPINION

12   Iv.

13 JOHN ERNEST BORSOS,
14          Defendant.
15
16
17 Dan Siegel, Siegel & Yee, Oakland, California, for John Ernest
         Borsos.
18
    Jeffrey B. Demain (argued), Jonathan Weissglass, Altshuler Berzon
19       LLP, San Francisco, California, for United Healthcare
         Workers-West.
20
21 CHRISTOPHER N. KLEIN, Bankruptcy Judge:
22          A reversal on appeal voided a money judgment on which wages
23 had been garnished. The garnishee wants his money back.
24          The backstory is a testosterone-fueled vendetta by Service
25 Employees International Union ("SEIU") against former officers of
26 a SEIU local who lost a power struggle with SEIU and, after SEIU
27 ousted them, became officers in a newly-formed rival union. SEIU
28 sued and obtained money judgments against the outcasts.
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 1        One of those judgment debtors seeks to recover $15,830.04

 2   garnished from his wages in the interval between (1) entry by

 3   this court of a judgment excepting SEIU's money judgment from

 4   discharge in bankruptcy and (2) the subsequent reversal on appeal

 5   of that nondischargeability determination.

 6        SEIU resists restitution by making a counter-motion to

 7   enforce a settlement agreement that was not executed and by

 8   sidestepping the unjust enrichment question.
 9        There being no enforceable settlement agreement, the motion
10   to order return of garnished funds due to reversal of the
11   nondischargeability judgment on which the garnishments were
12   premised will be GRANTED under the analysis recently restated in

13   Restatement (Third) of Restitution § 18 and, independently, to

14   remedy violation of the bankruptcy discharge injunction.
15
16                                     Facts'
17        Testosterone. SEIU took over its local, United Healthcare

18 Iworkers-West ("UHW"), and replaced its officers, including John
19   Borsos, for resisting SEIU's command to transfer 65,000 members
20 I without a vote to another SEIU local.
21         The day after their ouster, the former officers became
22   officers and employees of a newly-formed rival, National Union of

23   Healthcare Workers ("NUHW"), which began competing with UHW.
24         War erupted. See, e.g., SEIU v. NUHW, 598 F.3d 1061, 1064-
25    66 (9th Cir. 2010) . SEIU won.
26         Vendetta. Not content merely to win the power struggle,
27
28         'These facts supplement oral findings made at close of trial
     Iper Fed. R. Civ. P. 52, incorporated by Fed. R. Eankr. P. 7052.
                                         oil
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 1 SEIU and UHW sued the ousted officers, and NUHW, and others for
 2 damages for alleged misuse of union funds in breach of fiduciary
 3 duty during the weeks before the SEIU takeover. SEIU, et al. v.
 4 Rosselli, et al., No. 09-CV-0404, N.D. Cal.
 5      After an ugly fight, SEIU and UHW obtained jury verdicts
 6 against various defendants. As District Judge Alsup noted, "the
 7 love lost between the parties during this action was so great
 8 that zero cooperation could be expected." SEIU v. Rosselli, 2010
 9 Westlaw 4502176, at *3 (N.D. Cal. 2010) (Order on Bill of Costs)
10      The SEIU/UHW judgment against Borsos was $66,600.00, plus
11 costs of $9,245.17. There was no stay pending appeal.
12      Borsos filed a chapter 7 bankruptcy case on December 22,
13 2010, as of which date $2,019.74 had been garnished from his NUHW
14 wages. The bankruptcy automatic stay stopped the garnishments.
15      Vendetta. UHW, which is enforcing the SEIU judgment, filed
16 nondischargeability actions against Borsos and others to except
17 the judgment debts from discharge as incurred by fiduciary fraud
18 or defalcation per 11 U.S.C. § 523(a) (4). See, e.g., UHW v.
19 Kristal (In re Kristal), 464 B.R. 404 (Bankr. C.D. Cal. 2011)
20       After trial, this court excepted the judgment debt from
21 discharge based on law of the circuit applying a strict-liability
22 to the § 523(a) (4) fiduciary defalcation discharge exception,
23 under which view a culpable state of mind is not essential.
24       Borsos appealed. While that appeal was pending, the Supreme
25 Court held that the fiduciary defalcation discharge exception
26 under 11 U.S.C. § 523(a) (4) requires proof of a culpable state of
27 mind. Bullock v. BankChampaign, 133 S.Ct. 1754, 1759-60 (2013)
28 On that account, this court's judgment was reversed and remanded.


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 1           Vendetta. On remand, UHW elected to pursue a re-trial and
 2 to attempt to prove that Borsos had the requisite culpable state
 3 of mind. UHW did not carry its burden of proof on that question.
 4 Hence, judgment was rendered declaring the SEIU/UHW judgment debt
 5 against Borsos to have been discharged. There was no appeal.
 6           In the interval between this court's first judgment and
 7 reversal of that judgment, UHW garnished $15,830.04 from Borsos'
 8 NUHW wages. As those garnishments turned out to have been on
 9 account of a judgment that became "void" by operation of 11
10 U.S.C. § 524(a) (1), Borsos filed a motion seeking restitution.
11           One issue at the restitution hearing was whether a NUHW
12 Board resolution to reimburse NUHW individual defendants for sums
13 garnished was conditioned on an obligation to reimburse NUHW in
14 case of later restitution. The resolution's text did not mention
15 reimbursement. But this trier of fact believed (and so finds as
16 fact) the testimony that the resolution was adopted on the
17 condition that garnishees agree to refund to NUHW reimbursed
18 amounts later recovered. Such a condition is consistent with
19 recognition of the fiduciary duties of union officials that,
20 ironically, was the central issue in the SEIU damages action for
21 which the board was authorizing indemnification. 2
22            Borsos (who no longer works for NUHW) was reimbursed by NUHW
23 (which survives as a union) for the amounts garnished and remains
24   I   obliged to reimburse NUHW for amounts restored to him.
25            Additional facts are stated in the discussion below.
26
27
         2 The legal fees incurred by SEIU/UHW pursuing this vendetta

28 cause one to wonder whether they have been adhering to standards
    they say they were vindicating in the SEIU damages action.

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 1                                 Jurisdiction

 2           Federal subject matter jurisdiction is founded on 28 U.S.C.
 3 § 1334 (b). This is a core proceeding that a bankruptcy judge may
 4 hear and determine as of right. 28 U.S.C. H 157(b) (2) (I) & ( a)
 5
 6                                  Discussion
 7           The equitable right to restitution of what has been taken by
 8 enforcement of a judgment that is subsequently reversed has an
 9 ancient pedigree. It is a matter of inherent authority of every
10 court in the name of doing what is right. The key questions are
11 whether the right has been surrendered in some respect or whether
12   I   inequity would result from restitution.
13
14                                         I
15            By 1710, it was established in English law that restitution
16 was required where money is levied and paid in execution of a
17 judgment that is later reversed. Anonymous, 2 Salkeld, Reports
18 of cases Adjudg'd in the court of King's Bench ... to the Tenth
19 Year of Queen Anne, 288 (printed 1718), cited with approval, Bank
20 of United States v. Bank of Wash., 31 U.S. (6 Pet.) 8, 17 (1832).
21            The Supreme court has repeatedly applied this subsequent
22 reversal restitution doctrine. E.g., Bank of United States, 31
23 U.S. at 16-17; NW Fuel Co. v. Brock, 139 U.S. 216, 219-20 (1891);
24 Arkadelphia Milling Co. v. St. Louis S.W. R.           co., 249 U.S. 134,
25 145-46 (1919); Baltimore & 0. R. Co., 279 U.S. 781, 786 (1929).
26            No particular form of action is required. Sometimes it is,
27 as here, done by motion. NW Fuel Co., 139 U.S. at 217.
28 Sometimes by independent action for money had and received or


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 1   simple contract (assumpsit) . Bank of United States,                     31 U.S.   at
 2   17.    Formerly, a writ of scire facias was often used. 3 Courts
 3   can also act sua sponte.               RESTATEMENT (FIRST) OF RESTITUTION § 74,

 4   cmt. a (1937) ("RESTATEMENT            (FIRST)") .

 5          Under modern rules, the procedure is even more flexible
 6   where the original parties are before the court.                    RESTATEMENT

 7   (THIRD) OF RESTITUTION § 18 (2011) ("RESTATEMENT           (THIRD)") .

 8

 9         The writ of scire facias was the old form of action to
            3

     initiate a show-cause proceeding. In federal practice, the writ
10   of scire facias was abolished in 1937 with the adoption of the
     Federal Rules of Civil Procedure. The relief formerly available
11   under a writ of scire facias may now be obtained by "appropriate
     action or motion" under the Civil Rules. Fed. R. Civ. P. 81(b).
12
            4   The RESTATEMENT   (FIRST)   explained the procedural alternatives.
13

14             a. Procedure. The rule stated in this Section is
            applicable to cases where a judgment has been entered upon
15          which money has been paid by the defeated party or property
            has been sold on execution, and where subsequently such
16          judgment is reversed, set aside or modified, because of lack
            of power in the court rendering it, because of errors of
17          law, or for other reasons. In such cases there are various
            methods which can be used for securing restitution. The
18          reversing tribunal can itself direct restitution either with
            or without conditions, or the tribunal which is reversed can
19
            on motion or upon its own initiative direct that restitution
20          be made. Formerly, a common method of obtaining restitution
            was by a writ of scire facias quare restitutionem non. In
21          spite of the existence of such remedies, however, an
            independent action of assumpsit can be maintained and the
22          claim can be used as a set-off in proceedings in which
            set-of fs are allowed. Likewise, where the judgment which was
23          reversed directed the possession of property to be
            transferred or where execution was levied and property taken
24          thereunder, an action for specific restitution can be
25
            maintained except as against a bona fide purchaser.

26   RESTATEMENT (FIRST) § 74, cmt. a, (emphasis supplied)               , comment
     incorporated by RESTATEMENT (THIRD) § 18, rptr. note                b.
27
            5   The RESTATEMENT   (THIRD)    explains:
28
            Subject to local procedural requirements, the restitution
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 1         The most recent Restatement reflects the federal precedents
 2   and may be taken as an accurate statement of federal law:

 3         § 18. Judgment Subsequently Reversed or Avoided
                A transfer or taking of property, in compliance with or
 4         otherwise in consequence of a judgment that is subsequently
           reversed or avoided, gives the disadvantaged party a claim
 5         to restitution as necessary to avoid unjust enrichment.
 6   RESTATEMENT (THIRD) § 18 ; 6   see, e.g., PSM Holding Corp. v. Nat'l
 7   Farm Fin. Corp., 743 F. Supp. 2d 1136, 1141-45 (C.D. Cal. 2010).
 8         Where restitution is sought from the judgment creditor (as
 9   opposed to a third party), and where both parties are before the
10   court, restitution is virtually automatic.
11         The court has wide latitude to control the procedure and may
12   I conduct all needed inquiry in a summary proceeding so long as the
13   opposing party is heard. NW Fuel Co., 139 U.S. at 220.
14
15
16         claim described in this section may be asserted in any forum
           having jurisdiction. Restitution may therefore be decreed by
17         an appellate court as an incident of its power to correct
           errors. It may be ordered by the original tribunal on remand
18         (either sua sponte or on motion); or following reversal even
           without remand, as an exercise of the court's inherent
19
           equitable powers; or in response to a collateral attack on
20         the judgment. Restitution may also be sought in a separate
           action in any court having jurisdiction.
21
      RESTATEMENT (THIRD) § 18,     cmt. b.
22
           6   The correlative version in the RESTATEMENT (FIRST) was:
23
           § 74 Judgments Subsequently Reversed
24              A person who has conferred a benefit upon another in
           compliance with a judgment, or whose property has been taken
25         thereunder, is entitled to restitution if the judgment is
26         reversed or set aside, unless restitution would be
           inequitable or the parties contract that payment is to be
27         final; if the judgment is modified, there is a right to
           restitution of the excess.
28
      RESTATEMENT (FIRST) §   74.

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 1                                         II

 2         It is of no consequence that the contested garnishments

 3   occurred in execution of a money judgment issued by a United
 4   States District Court and not by this bankruptcy court.
 5
 6
 7         A general answer to the question of this court's authority

 8   is that a prevailing appellant may seek restitution of all things
 9   taken under the judgment in the same or an independent action.
10         In other words, this is a permissible collateral attack.
11   RESTATEMENT (THIRD)   § 18, cmt. b.
12         The critical requirements are that the parties to the Borsos
13   judgment must be before this court and that the garnishing party
14   have an opportunity to be heard. NW Fuel Co., 139 U.S. at 220.
15   Those requisites are present here.
16
17                                         I1
18         A more precise explanation of this court's authority is that
19   the dispute is within core bankruptcy jurisdiction because the
20   underlying dispute involves the effect of the bankruptcy
21   discharge on the money judgment.
22         It is a proceeding that relates to the dischargeability of a
23 1particular debt. 28 U.S.C. § 157(b) (2) (I)
24         And it is a proceeding affecting the adjustment of the
25   debtor-creditor relationship. 28 U.S.C. § 157(b) (2) (0)
26         The judgment, the reversal of which occasions the request
27   for restitution of garnished funds, is a judgment of this court
28   in a nondischargeability proceeding and not the judgment of the


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 1 district court.
 2      Every court, including this bankruptcy court, has inherent
 3 equitable power to correct that which has been wrongfully done -
 4 here, enforcement of a judgment that should not have been
 5 enforced - by virtue of its process. Arkadelphia Milling Co.,
 6 249 U.S. at 145-46.
 7      Thus, it makes no difference that the underlying money
 8 judgment was entered by a court other than the bankruptcy court.
 9 The overlay of bankruptcy results in de facto concurrent
10 jurisdiction over the money judgment. This court, having created
11 the problem in the first instance with its incorrect judgment
12 excepting the district court's money judgment from discharge, is
13 obliged to skin its own skunk.
14
15                                  III
16      The parties correctly sense that there is a bankruptcy issue
17 arising from reversal of this court's judgment excepting the
18 judgment debt from discharge. But they incorrectly focus on the
19 automatic stay; the real problem is the effect of the bankruptcy
20 discharge and accompanying discharge injunction.
21
22
23       The relevant chronology begins with the filing of the Borsos
24 chapter 7 case on December 22, 2010. SEIU/UHW, which had already
25 garnished $2,019.74 from Borsos' NUHW wages, ceased judgment
26 collection. The Borsos discharge was entered April 8, 2011.
27 This court's judgment excepting the money judgment from discharge
28 was entered March 15, 2012. The first garnishment of Borsos'


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 1 wages in reliance upon the judgment excepting the debt from
 2 discharge was on August 3, 2012. Those post-bankruptcy
 3 garnishments, which totaled $15,830.04, ceased upon reversal of
 4 that judgment by the Bankruptcy Appellate Panel.

 5      It warrants emphasis that we are dealing with a problem of
 6 retroactivity. At the time, the post-bankruptcy garnishments did
 7 not necessarily offend basic bankruptcy law.
 8
 9
10      The parties engage in a moot debate about whether the
11 automatic stay invalidated the post-bankruptcy garnishments. The
12 automatic stay had expired before the garnishments occurred.
13      As a matter of law, the automatic stay's protection of the
14 debtor expired with entry of the discharge on April 8, 2011. 11
15 U.S.C. § 362(c) (2) (C). This discharge was not vacated. Nothing
16 was left to reinstate with respect to the debtor.
17      Although the automatic stay continued to protect property of
18 the estate, post-petition wages are not property of the estate in
19 a chapter 7 case.   11 U.S.C. H 362(c) (1) & 541(a) (6).
20       Hence, the garnishments of post-petition wages could not
21 have violated the automatic stay, and the cited cases involving
22 "reinstatement" of the automatic stay are inapposite.
23
24                                    C
25       The real problem is that the post-petition garnishments
26 retroactively offended the bankruptcy discharge and the discharge
27 injunction.
28       The discharge "voids" any judgment at any time obtained -


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 1 i.e. past, present, and future - to the extent that it determines
 2 the personal liability of the debtor with respect to a discharged
 3   debt.     11 U.S.C. § 524(a) (1).
 4           Correlatively, the discharge "operates as an injunction"
 5 against any act to collect a discharged debt as a personal
 6 liability of the debtor. 11 U.S.C. § 524(a) (2).
 7           But the § 524 discharge provisions invite uncertainty. In
 8 the sense of formal logic, insulating a debtor from liability on
 9 a discharged debt "begs the question" by assuming the conclusion.
10 With respect to any particular debt, § 524(a) assumes that the
11 debt has been discharged.
12           Ascertaining whether a debt actually has been discharged can
13 be a complex problem. The Bankruptcy Code excepts a variety of
14 debts from discharge. 11 U.S.C. § 523 (a)
15           Some discharge exceptions, including the alleged § 523(a) (4)
16 fiduciary defalcations here, necessitate judicial determination.
17           Litigation over discharge status necessarily takes time.
18 Appeals take even more time. Final determination of whether a
19 debt is discharged cannot be known with certainty until the end
20 of the appellate road.
21           Here, all relevant collection activity occurred after this
22 court ruled that the debt was excepted from discharge and before
23 that judgment was reversed. Without a stay pending appeal and in
24 the absence of the automatic stay, the judgment could be enforced
25 immediately. Enforcement in the context of a nondischargeability
26 judgment means resuming collection.
27           But, by choosing to enforce a judgment on appeal, SEIU/UHW
28 took the risk that the debt would ultimately turn out to have


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 1       been discharged and the risk that there would be consequences.
 2            The ultimate victory of the debtor after re-trial on remand
 3       that was not appealed operated to establish that all post-
 4       bankruptcy collections were on account of the debtor' s personal
 5       liability on a discharged debt. That, retroactively, meant that
 6   I   the collections were on account of a void judgment and offended
 7       the § 524(a) (2) discharge injunction. 7
 8            While punishment with the heavy hand of contempt may not be
 9       appropriate in such circumstances, the strategy was not riskless.
10       At a minimum, SEIU/UHW took the risk that the $15,830.04 would
11       turn out to have been collected on a void and unenforceable
12       judgment in violation of the discharge injunction and that an
13       ameliorative remedy would be in order.
14            UHW contends, however, that there was an intervening
15   I   settlement and that restitution would unjustly enrich Borsos.
16
17                                          Iv
18            In its counter-motion, UHW says that the restitution issue
19       was resolved by way of a settlement agreement that should be
20       enforced even though Borsos declined to sign the agreement.
21
22
23            7   The language of the statutory § 524(a) (2) injunction 15:
24               (a) A discharge in a case under this title - (2) operates
              as an injunction against the commencement or continuation of
25            an action, the employment of process, or an act, to collect,
26            recover or offset any such [discharged] debt as a personal
              liability of the debtor, whether or not discharge of such
27            debt is waived;

28       11 U.S.C. §524(a) (2).


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 1
 2      The facts relating to the purported settlement warrant
 3 separate statement.
 4      UHW's counsel testified that he orally offered on December
 5 16, 2014, a "walk away" settlement in which UHW would not appeal
 6 and Borsos would not seek costs or return of garnished funds.
 7      Borsos' counsel responded on December 29, 2014: "We accept
 8 your proposal to end this matter. We agree that we will waive
 9 fees in exchange for your agreement to waive appeal rights."
10      UHW's counsel emailed a draft settlement agreement on
11 January 15, 2015, to which Borsos' counsel promptly responded
12 "the agreement is acceptable." Thereupon, UHW's counsel emailed
13 a final version in form suitable for signature.
14       Borsos' counsel responded to repeated status inquiries with
15 "I am awaiting the return of the release from John Borsos" and "I
16 am doing my best to get John to return it to me."
17       On February 5, 2015, UHW's counsel sent Borsos' counsel a
18 copy of the settlement agreement executed by UHW.
19       On March 6, 2015, Borsos' counsel responded that he thought
20 the agreement was merely an exchange of UI-lW's right to appeal for
21 Borsos' forbearance on costs and that, while UHW could keep the
22 $2,019.74 garnished pre-bankruptcy, UHW should refund the
23 $15,830.14 garnished during the bankruptcy. 8
24
         8   The explanation was:
25
26       My concern about the settlement agreement is based upon my
         understanding that the agreement represented simply an
27       exchange of UHW's right to appeal for our forbearance on the
         costs. However, the agreement as drafted includes a
28       provision (par. 5) requiring Borsos to agree not to seek the
         refund of funds garnished from his wages during the pendency

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 1        UHW's counsel replied two hours later that it was too late

 21 to renege on the agreement "accepted" by the January 15 email. 9
 3        Neither Borsos nor his counsel ever signed the settlement
 4   agreement.
 5        A routine file review revealed that the clerk of court had
 6   mislaid and not entered on docket the judgment signed at the end
 7   of trial. The judgment was immediately re-issued and entered on
 8   docket on June 1, 2015. That triggered the time to file a notice
 9   of appeal. Fed. R. Bankr. P. 8002(a) (1). No appeal was filed.
10        Borsos' Notion For Return of Property seeking restitution
11   was filed June 18, 2015. UHW responded with a counter-motion to
12   enforce the settlement agreement.
13
14
          of the bankruptcy.
15
          As you know, Borsos filed for bankruptcy in December 2010.
16        Prior to that date UHW garnished $2019.74 from his NUHW
          salary. However, after the bankruptcy was filed and the
17        automatic stay went into effect, UHW garnished $9164.76 from
          Borsos' wages in 2012 and 6665.28 in 2013. We believe that
18        UHW must refund this amounts - a total of $15,830.04.
19
     Siegel to Demain email 03/06/2015, 2:57 p.m.
20
          9   The response was:
21
          That provision was part and parcel of the settlement from
22        our very first discussion on December 16, 2014, as reflected
          in my contemporaneous notes from that conversation, and was
23        set forth in the draft settlement agreement that you
          accepted in your January 15, 2015 e-mail. The only thing
24        left to do is for you and Mr. Borsos to execute the written
          document to which you have already agreed. Without agreeing
25        as to whether the amounts of the garnished wages recited in
26        your e-mail below are correct (which I haven't checked), any
          claim for a refund of those amounts has been waived by your
27        acceptance of the settlement agreement. Please return to me
          the fully-executed settlement agreement.
28
     Demain to Siegel email 03/06/2015, 4:54 p.m.

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ii
2         UHW contends that the settlement agreement should be deemed
3 to have been accepted on January 15, 2015. Citing California
4 precedents, it argues that all that remained was the ministerial
 5 act of executing the agreement because all of its terms had been
 6 accepted. This court is not persuaded.
 7         First, the December 29 acceptance ("we agree that we will
 8 waive fees in exchange for your agreement to waive appeal
 9 rights") is consistent with not having agreed to forego
10 restitution of post-bankruptcy garnishments. The January 15
11 email ("the agreement is acceptable") is consistent with a
12 preliminary view of counsel in a context in which the client
13 would still be able to review the text in detail. "Acceptable"
14 is not "accepted." This court believed the testimony of Borsos'
15 counsel. There had not been a final and unequivocal acceptance
16   I of the form and of all terms of the settlement agreement.
17         This is not a situation in which a party was lured into not
18 filing a timely notice of appeal. UHW knew that Borsos still
19 wanted return of his $15,830.04 as of March 6, 2015. A notice of
20 appeal would still have been timely as being after the court
21 ruled orally on the record and before the docketing of the
22 judgment by the clerk, which did not occur until June 1, 2015.
23 Fed. R. Bankr. P. 8002(a). UHW had plenty of time to appeal.
24         Finally, the argument that the settlement agreement was
25 binding as of January 15 when counsel said it was "acceptable"
26 suffers from a fatal flaw embedded in paragraph 12 of the
27 settlement agreement: "This Settlement Agreement shall become
28 binding on the undersigned parties, effective, and enforceable on


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 1 the last date of execution shown below."
 2           That no-binding-agreement-until-everyone-has-signed
 3 provision would have to be ignored in order to accept                       UHW's

 4 argument.         UHW    drafted the agreement and included the provision.
 5            It follows from the terms of               UHW's   paragraph 12 that there
 6 could be no binding settlement agreement without actual
 7 signatures.            UHW    is hoist with its own petard.
 8
 9                                                 LTA

10            The final question is whether restitution is, in the words
11   I   of the Restatement (Third), "necessary to avoid unjust
12 enrichment."            RESTATEMENT (THIRD) § 18.

13            The   UHW   argument has an odd twist. Instead of attempting to
14 establish an affirmative defense that                     UHW   would not be unjustly
15 enriched by keeping funds garnished on account of a judgment that
16 was subsequently reversed,                UHW   contends that if it were to
17 disgorge the $15,830.04 that it took from Borsos, then Borsos
18 would be unjustly enriched.
19
20                                                 LAI
21            The reluctance of        UHW   to talk about whether it would be
22 unjustly enriched by keeping the funds garnished on a later-
23 reversed judgment does not make that question any less relevant.
24            There being no affirmative defense asserted by                 UHW,   unjust

25 enrichment of           UHW    on the reversed money judgment is both presumed
26 and patent. In addition, a powerful policy reason regarding the
27 viability of the statutory bankruptcy discharge further dictates

28 I the same conclusion.


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 2        The requirement of restitution where money is levied and
 3   paid in execution of a money judgment that is later reversed is
 4   so deeply embedded in at least three centuries of our legal
 5   tradition that, as between the parties to the judgment, it
 6   amounts to a presumption favoring restitution where a debtor has
 7   been compelled by law to pay a claim that on the merits is not
 8   legally enforceable. See, e.g., NW Fuel Co.,          139 U.S. at 219

 9   ("the only question of discussion has been as to the proceeding
10   to enforce the restitution") ;   RESTATEMENT (THIRD) § 18,   cmt. e.
11        As between the parties to the judgment, the presumption that
12   restitution is necessary to avoid unjust enrichment is difficult
13   to gainsay. The likely affirmative defenses (change of position
14   or no unjust enrichment) are difficult to prove in the fabe of
15   the need to remedy the misapplication of process inherent in
16   legal compulsion to pay a claim that is not legally enforceable.
17        As the Restatement (Third) explains, preventing the law from
18   stultifying itself by compelling payment of a claim that the law
19   says may not be compelled "constitutes an important reason for
20   restitution that is independent of the individualized equities of
21   the parties."   RESTATEMENT (THIRD) § 18,   cmt. e.
22        In contrast, affirmative defenses are more readily
23   established when restitution is sought from a third party who may
24   be a bona fide payee or bona fide purchaser. See, e.g., Bank of
25   United States, 31 U.S. at 16-17     (disapproving restitution from
26   nonparty to judgment but noting entitlement to restitution from
27   party to judgment) ; RESTATEMENT (THIRD) § 18,   cmt. g.
28        Thus, it is when the restitution would be from a third party


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 1 that the analysis of "necessary to avoid unjust enrichment"
 2 becomes delicate. But this is not such an instance.
 3             Here, the dispute is between the original parties to the
 4 money judgment. The judgment creditor garnished in reliance on a
 5 bankruptcy court judgment that the judgment debt was not
 6 discharged in bankruptcy. That bankruptcy judgment was reversed.
 7 The judgment creditor has not proffered an affirmative defense to
 8 counter the presumption that it would be unjustly enriched by
 9 keeping the funds. Its silence on that point is deafening.
10             It follows that restitution of $15,830.04 is necessary to
11 avoid unjust enrichment of UHW. As is usual in cases of
12 restitution, interest accrues from the date of the garnishments
13   I at the interest rate applicable to the original money judgment.
14   I   RESTATEMENT (THIRD)   § 18, cmt. h & § 53.
15
16                                            2
17             Bankruptcy discharge policy independently supports restoring
18 the garnished funds to Borsos.
19             The discharge operated to render "void" the district court's
20 money judgment to the extent it was a determination of the
21 personal liability of the debtor regardless of whether discharge
22 was waived. 11 U.S.C. § 524(a) (1)
23             The statutory discharge injunction against collection of
24 that discharged judgment debt as a personal liability of the
25 debtor regardless of whether discharge was waived was offended by
26 garnishment. 11 U.S.C. § 524(a) (2).
27             To be sure, the discharge status and the contempt of the
28 § 524(a) (2) discharge injunction had to be ascertained


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 1 retroactively because garnishment occurred before reversal. At
 2 the time of garnishment, the status quo suggested that the
 3 garnishment was permissible.

 4      As noted, the judgment creditor's choice to enforce the
 5 money judgment while it was still on appeal concomitantly
 6 constituted a choice to bear the risk of reversal. For any money
 7 judgment, that choice was to risk an order of restitution. For a
 8 discharged money judgment, that choice was to risk an order of
 9 restitution and to risk consequences for retroactive violation of
10 the § 524(a) (2) discharge injunction.
11       Excusing restitution would create misguided incentives,
12 especially in the context of bankruptcy. There should be an
13 incentive to be careful when enforcing a judgment still on
14 appeal. There should not be an incentive to take a cavalier
15 approach to the § 524(a) (2) discharge injunction.
16       Sensible bankruptcy policy dictates fostering incentives for
17 creditors to proceed with caution in the vicinity of the
18 bankruptcy discharge.
19       An appropriate remedy for violation of the § 524(a) (2)
20 discharge injunction is, at a minimum, restitution.
21       It follows that restitution is necessary to avoid unjust
22 enrichment of UHW under general principles of restitution and, on
23 an adequate, independent basis, as a remedy for violation of the
24 § 524(a) (2) discharge injunction.
25
26                                    M.
27       The UHW argument that Borsos would be unjustly enriched if
28 funds garnished from his wages had to be returned to him amounts


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       to an argument that he would reap a double recovery because NUHW
 l
 2 indemnified him for the garnished funds.

 3
 4                                        1
 5          From the standpoint of the law of restitution, the argument
 6 is misplaced.
 7          First, it incorrectly assumes that Borsos would not be
 8 required, in turn, to reimburse NUI-IW. This court has determined
 9 as a finding of fact that the NUHW board's resolution adopting
10 the indemnification policy came with a condition that it be
11 reimbursed for any garnished funds that ultimately are returned
12 to a judgment debtor. Thus, if Borsos were to attempt to retain
13 the funds, he would be exposed to a claim by NUHW for breach of
14 contract or for restitution. See           RESTATEMENT (THIRD)   § 24.
15           Second, the argument sidesteps the only unjust enrichment
16 question that matters: whether UHW would be unjustly enriched by
17     1 pocketing the funds garnished from Borsos. The answer is, "yes."
18
19 I
20           From the standpoint of the § 524(a) (2) discharge injunction,
21      a potential double recovery is even less persuasive.
22           It is beyond cavil that UHW violated the § 524(a) (2)
23      discharge injunction, which is not entirely a toothless tiger.
24      The judgment enforcement activity may have been legally
25      permissible at the time that it occurred, but it was undertaken
26      in the teeth of an appeal with, as previously noted, the risk
27      that reversal could lead to trouble. Nevertheless, UHW chose to
28      rush forth where angels might fear to tread.


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 1         UHW's protest that the reimbursement of Borsos by NUHW for

 2   the sums garnished might lead to double recovery is not a defense
 3   to a restitution order to UHW as a remedy for UHW's violation of
 4   the § 524(a) (2) discharge injunction. To allow UHW to keep the
 5    $15,830.04 would confer upon UHW a windfall for its violation.
 6         UHW,   as a wrongdoer in this context, is in essentially the
 7    same position as a tortfeasor. By protesting a potential double
 8   recovery, UHW implicates the collateral-source rule that applies
 9   I to torts and similar wrongs..
10         It is settled law that payments made to an injured party
11    from other sources are not credited against the wrongdoer's
12    liability, although they cover all or a part of the harm for
13   which the wrongdoer is liable.          RESTATEMENT (SECOND) OF TORTS

14    § 920A(2) (1979) ("Effect of Payments Made to Injured Party")
15         There is no reason that the collateral-source rule in the
16    law of damages for wrongdoing should not at least inform the
17    analysis of a § 524(a) (2) discharge injunction. 10
18
           ' ° The standard rationale for the collateral-source rule
19    comfortably fits § 524(a) (2) discharge injunction violations,
20    which are more analogous to tort than to contract:

21         b. Benefits from collateral sources. Payments made or
           benefits conferred by other sources are known as collateral-
22         source benefits. They do not have the effect of reducing
           the recovery against the defendant. The injured party's net
23         loss may have been reduced correspondingly, and to the
           extent that the defendant is required to pay the total
24         amount there may be a double compensation for a part of the
           plaintiff's injury. But it is the position of the law that
25         a benefit that is directed to the injured party should not
26         be shifted so as to become a windfall for the tortfeasor.
               If the benefit was a gift to the plaintiff from a third
27         party or established for him by law, he should not be
           deprived of the advantage that it confers.
28
      RESTATEMENT (SECOND) OF TORTS §   920A, corn. b.

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 1        Even if Borsos could reap a double recovery, that would not

 2   offend the collateral-source rule in the law of damages and would
 3   constitute an appropriate measure enforcing the § 524(a) (2)
 4   discharge injunction. Any attendant reimbursement issue between

 5   Borsos and NUHW is between them, without intervention by UHW.

 6
 7                               Conclusion
 8        Restitution of the $15,830.04 that was garnished from the
 9   wages of chapter 7 debtor John Borsos on account of a money
10   judgment that was initially excepted from the bankruptcy
11   discharge by a judgment that was later reversed and that
12   ultimately was discharged in bankruptcy will be ordered.
13   Restitution is required under the analysis described in the
14   Restatement (Third) of Restitution § 18 and the precedents on
15   which it is founded. Restitution is also appropriate as a remedy
16   for violation of the § 524(a) (2) discharge injunction. Give the
17   money back.
18        An appropriate order will issue.
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20 I January 22, 2016
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                                    UNITED 'STATES BANKRUPTCY JUDGE

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